     Case 2:11-cr-00159-RHW     ECF No. 144    filed 12/23/13   PageID.624 Page 1 of 2



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                           UNITED STATES DISTRICT COURT
 7                        EASTERN DISTRICT OF WASHINGTON
 8
 9   UNITED STATES OF AMERICA,
                                                NO. CR-11-159-RHW-2
10          Plaintiff,                              CR-11-159-RHW-3
                                                    CR-11-159-RHW-4
11          v.                                      CR-11-159-RHW-5
                                                    CR-11-159-RHW-6
12   0738106 B.C. LTD; 0738116 B.C.                 CR-11-159-RHW-7
     LTD; 0738126 B.C. LTD.; 360                    CR-11-159-RHW-8
13   NORTHWEST TELLECOM, LLC;                       CR-11-159-RHW-9
     D&D ASSOCIATES LLC; LLS                        CR-11-159-RHW-10
14   AMERICA, LLC (a Nevada limited                 CR-11-159-RHW-11
     liability company); LLS AMERICA,
15   LLC (a Utah limited liability
     company); LLS CANADA, LLC (a
16   Nevada limited liability company); LLS     ORDER GRANTING MOTION
     CANADA, LLC (a Utah limited                TO DISMISS INDICTMENT
17   liability company); and TEAM SPIRIT
     AMERICA, LLC,
18          Defendants.
19
20         Before the Court is the Government’s Motion to Dismiss Indictment, ECF
21 No. 143). The motion was heard without oral argument and on an expedited basis.
22       The Government moves to dismiss the Indictment against the Corporate
23 Defendants. Pursuant to Fed. R. Crim. P. 48, the Government may by leave of
24 Court file a dismissal of an indictment. “If the district court finds that the
25 prosecutor is acting in good faith in making its Rule 48(a) motion, it should grant
26 the motion; conversely, Rule 48(a) empowers the district court to exercise its
27 discretion in denying the motion when it specifically determines that the
28 government is operating in bad faith.” United States v. Hayden, 860 F.2d 1483,

     ORDER GRANTING MOTION TO DISMISS INDICTMENT ~ 1
      Case 2:11-cr-00159-RHW         ECF No. 144   filed 12/23/13   PageID.625 Page 2 of 2



 1 1487 (9th Cir. 1988). The Court finds no evidence of bad faith in the
 2 Government’s motion.
 3          Accordingly, IT IS HEREBY ORDERED:
 4          1.     The Government’s Motion to Dismiss Indictment, ECF No. 143, is
 5 GRANTED.
 6          2.      The Indictment alleged against the Corporate Defendants is
 7 dismissed without prejudice.
 8          IT IS SO ORDERED. The District Court Executive is directed to enter
 9 this order and provide copies to counsel.
10          DATED this 23rd day of December, 2013.
11
12                                     s/Robert H. Whaley
                                     ROBERT H. WHALEY
13                                  United States District Judge
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     ORDER GRANTING MOTION TO DISMISS INDICTMENT ~ 2
